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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY MDL 1456
AVERAGE WHOLESALE PRICE
LITIGATION Master File No. 01-CV-12257-PBS

Subcategory Case No. 06-CV-11337-PBS

THIS DOCUMENT RELATES TO:

United States of America ex rel. Ven-A-Care
of the Florida Keys, Inc. y. Boehringer
Ingelheim Corporation, et al., Civil Action
No, 07-10248-PBS

Judge Patti B. Saris

Magistrate Judge Marianne B. Bowler

Smee Spe’ gue Sg Sega” Sega nme” gee” Sega” nee” meee” ge” nese” ee” ee” ee”

ASSENTED TO MOTION FOR ADMISSION PRO HAC VICE

Defendants Boehringer Ingelheim Corporation; Boehringer Ingelheim
Pharmaceuticals, Inc.; Roxane Laboratories, Inc.; and Roxane Laboratories, Inc. n/k/a
Boehringer Ingelheim Roxane, Inc., by and through Donoghue, Barrett & Singal, P.C.,
hereby request that Martin L. Roth, Esq. be admitted pro hae vice in the above-referenced
action. In support of this motion, undersigned counsel respectfully states as follows:

1. Martin L. Roth, Esq. is an attorney, who maintains an office for the practice of
law at Kirkland & Ellis, LLP, 300 North LaSalle Street, Chicago, Illinois 60654.

2. Pursuant to Local Rule 83.5.3(b), I have attached, as Exhibit A, an affidavit
signed by Attorney Roth, which indicates that Attorney Roth is in full compliance with
requirements of that local rule for admission pro hac vice.

3. The undersigned counsel requests that this court allow the motion so that
Attorney Roth may file pleadings and appear and be heard at all proceedings in this case on

behalf of the above-listed Defendants.

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4, The undersigned counsel will appear as local counsel for Defendants
Boehringer Ingelheim Corporation; Boehringer Ingelheim Pharmaceuticals, Inc.; Roxane
Laboratories, Inc.; and Roxane Laboratories, {nc, n/k/a Boehringer Ingelheim Roxane, Inc.

3, Counsel for the United States has assented to the motion.

WHEREFORE, undersigned counsel respectfully requests that the court enter an

order permitting Martin L. Roth to appear pro hac vice in this matter.

LOCAL RULE 7.1 CERTIFICATION

I, Richard Goldstein, Esq., hereby certify that I understand from Attorney Roth that
counsel for the plaintiffs have assented to this motion.

Respectfully Submitted,

/s/ Richard Goldstein
Richard Goldstein, BBO #565482
DONOGHUE, BARRETT & SINGAL, P.C.
One Beacon Street, Suite 1320
Boston, Massachusetts 02108
(617) 720-5090

Dated: September 25, 2009

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CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing was delivered to all counsel of
record by electronic service pursuant to Paragraph 11 of the Case Management Order No. 2,
by sending on September 25 2009, a copy to LexisNexis File and Serve for posting and

notification to all parties.

By:___/s/ Richard Goldstein
Richard Goldstein

